Case 1:11-Cv-00099-E.]L-CWD Document 58 Filed 10/10/12 Page 1 of 5

GREG H. BOWER

ADA COUNTY PROSECUTING ATTORNEY

JANA B. G()MEZ

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Deputy Prosecuting Attomey

Civil Division

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Idaho State Bar Nos. 8186 and 6831

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

WESTERN BENEFIT SOLUTIONS, LLC,
an Idaho limited liability company,

Plaintiff,
vs.

JOHN GUSTIN, an individual; MORETON
lNSURANCE OF IDAHO, INC., an Idaho
corporation d/b/a MORETON &
COMPANY; ELIZABETH SCHATTIN, an
individual; FAST ENTERPRISES, L.L.C., a
NeW York limited liability company,

Defendants.

 

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CASE NO. 1:11-CV-00099-EJL-CWD

STIPULATION FOR PAYMENT OF
COSTS OF PRODUCTION

COME NOW, Ada County and it’s employee Robert Perkins, by an through their

attorney, the Ada County Prosecuting Attorney’s Offlce, Civil Division, and Plaintiff, Western

Beneflt Solutions, LLC (“WBS”), by and through its attomey, Jason Dykstra, Meuleman

Mollerup, LLP, and hereby stipulate and agree as follows:

STIPULATION FOR PAYMENT OF COSTS OF PRODUCTION _ PAGE l

 

Case 1:11-Cv-00099-E.]L-CWD Document 58 Filed 10/10/12 Page 2 of 5

l. That, on February 22, 2011, Judge Timothy Hansen of the District Court of the
Fourth Judicial District of the State of ldaho granted Ada County’s Motion Quash or, in the
Alternative, to Modify and Condition Compliance with the Deposition Subpoena Duces Tecum
to the Ada County C'ustodian of Records (“Motion to Quash”), but requested further briefing and
arguments as to What constitutes “costs of production” in the context of ldaho Rule of Civil
Procedure 45 (b)(2).

2. That, on March ll, 2011, before Judge Timothy Hansen issued a ruling regarding
what fell within the scope of “costs of production” in the context of ldaho Rule of Civil
Procedure 45(b)(2), this case was removed to Federal District Court.

3. That, on September 24, 2012, Judge Candy Dale issued a Memorandum Decision
and Order granting in part and denying in part Ada County’s Motion to Quash and, in particular,
ruling on what “costs of production” are recoverable by Ada County in responding to the
Deposition Subpoena Duces Tecum.

4. That, according to the Court’s September 24, 2012 Order, the following constitute
“costs of production” within the context of Idaho Rule of Civil Procedure 45(b)(2) and, thus, are
recoverable by Ada County: (l) legal review necessary to separate privileged material, (2) IT
Department time spent programming the search, and (3) data storage costs.

5. That the Memorandum Decision and Order specifically limited reimbursement to
the “costs of production” associated with the database search spanning March l, 2009 through
August 31, 2009.

6. That the following table accurately describes Ada County’s costs of production in

compliance with this Court’s Order:

STIPULATION FOR PAYMENT OF COSTS OF PRODUCTION ~ PAGE 2

 

 

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Case 1:11-cv-00099-E.]L-CWD Document 58 Filed 10/10/12 Page 3 of 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

 
 

 

 

 

 

 

 

 

 

 

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Jan' 7’ Jaila Redact e-mail search results 1.8 $140.00 \$252.00 f
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Nov. 26, Bret Term search pst: Created pst , v
2010 Lopeman from March to May 2009 1'0 $45'00 ` $45'0-0 ‘
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STIPULATION FOR PAYMENT OF COSTS OF PRODUCTION _ PAGE 3

 

 

 

 

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Case 1:11-cv-00099-E.]L-CWD Document 58 Filed 10/10/12 Page 4 of 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Dec. 11, Bret Move Date: Move documents 4 `
2010 Lopeman for index 2`0 $45 `00 $90`00
Dec. 13, Bret Move Data: Move documents
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Jan. 5,
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Nov. 10,
2010
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an. ,
201 1
DATA STORAGE SUB,-TOTAL:' v $1,005.2'0`
' ToTAL= $`5,086.20 '

 

 

 

 

 

 

 

7.

That WBS will submit a check, made payable to “Ada County,” for the amount of

$5,086.20 on or by November 7, 2012.

8.

That such payment by WBS will constitute payment in full for all costs of

production related to the Deposition Subpoena Duces Tecum served on Ada County employee

STIPULATION FOR PAYMENT OF COSTS OF PRODUCTION - PAGE 4

 

 

 

 

Robert Perkins on November 8, 2010 and the Renewed Deposition Subpoena Duces Tecum served
on Mr. Perkins on January 5, 2011.

9. That Ada County and WBS read and understand the contents of this Stipulation, and
v that they entered into this Stipulation knowingly, freely, voluntarily, and without duress.
WHEREFORE, Ada County and Western Benefit Solutions, LLC jointly request that the

Court issue its Order in accordance with the above Stipulation.

GREG H. BOWER
Ada County Prosecuting Attomey

DATED \O/ lO/\?~ By; § §§MQ @.QQ'ML
J ana . Gomez, Deputy Prosecuting Attorney

Attorney for Ada County

DATEDl@ 6' 10/6\ By%

Jason DykstrW
Attorney for estern Beneflt Solutions, LLC l

 

 

 

 

 

 

STIPULATION FOR PAYMENT OF COSTS OF PRODUCTION - PAGE 5

